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Proposed Attorneys for the Debtors and
Debtors in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION

                                                           )
In re:                                                     )   Chapter 11
                                                           )
AMF BOWLING WORLDWIDE, INC., et al.,1                      )   Case No. 12-36495 (___)
                                                           )
                                    Debtors.               )   (Joint Administration Requested)
                                                           )

 DEBTORS’ MOTION FOR AUTHORITY TO (I) PREPARE A LIST OF CREDITORS
  IN LIEU OF SUBMITTING A FORMATTED MAILING MATRIX AND (II) FILE A
CONSOLIDATED LIST OF THE DEBTORS’ 30 LARGEST UNSECURED CREDITORS

          AMF Bowling Worldwide, Inc., and certain of its affiliates, as debtors and debtors in

possession (collectively, the “Debtors”), file this motion seeking entry of an order (the “Order”),

substantially in the form attached hereto as Exhibit A, for authority to (a) prepare a list of creditors


1   The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number include: AMF Bowling Worldwide, Inc. (3272); 300, Inc. (3632); American Recreation Centers, Inc.
    (1151); AMF BCH LLC (9642); AMF Beverage Company of Oregon, Inc. (4960); AMF Bowling Centers Holdings
    Inc. (1697); AMF Bowling Centers, Inc. (1662); AMF Bowling Mexico Holding, Inc. (7931); AMF Holdings, Inc.
    (5037); AMF WBCH LLC (9643); AMF Worldwide Bowling Centers Holdings Inc. (1641); Boliches AMF, Inc.
    (9631); Bush River Corporation (7033); King Louie Lenexa, Inc. (0814); Kingpin Holdings, LLC (5411); and
    Kingpin Intermediate Corp. (5447). The location of the Debtors’ service address is: 7313 Bell Creek Road,
    Mechanicsville, Virginia 23111.




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in lieu of submitting a formatted mailing matrix, and (b) file a consolidated list of the Debtors’

30 largest unsecured creditors. In support of this motion, the Debtors respectfully state as follows.2

                                                     Jurisdiction

         1.        The United States Bankruptcy Court for the Eastern District of Virginia (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core

proceeding within the meaning of 28 U.S.C. § 157(b)(2).

         2.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.        The statutory bases for the relief requested herein are sections 105(a), 342(a), and 521

of the Bankruptcy Code, Rules 1007(a)(1) and (d) and 2002(a) and (f) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 1007-1 of the Local Bankruptcy Rules

for the United States Bankruptcy Court for the Eastern District of Virginia (the “Local Bankruptcy

Rules”).

                                                  Relief Requested

         4.        The Debtors seek entry of the Order authorizing the Debtors to (a) prepare a list of

creditors in lieu of submitting a formatted mailing matrix, and (b) file a consolidated list of the

Debtors’ 30 largest unsecured creditors.

                                                   Basis for Relief

I.       Authority Exists to Prepare a List of Creditors in Lieu of Submitting a Formatted
         Mailing Matrix.

         5.        Pursuant to Bankruptcy Rule 1007(a)(1), “the debtor shall file with the petition a list

containing the name and address of each creditor unless the petition is accompanied by a schedule of

2    A detailed description of the Debtors and their businesses, and the facts and circumstances supporting this motion
     and the Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Stephen D. Satterwhite, Chief
     Financial Officer and Chief Operating Officer of AMF Bowling Worldwide, Inc., in Support of Debtors’ Chapter 11
     Petitions and First Day Pleadings (the “First Day Declaration”), filed contemporaneously with the Debtors’
     voluntary petitions for relief filed under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),
     on November 12, 2012 (the “Petition Date”).



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liabilities.” Local Bankruptcy Rule 1007-1(H)(1) states that this list of creditors must be submitted

either on a diskette in a computer readable format specified by the Office of the Clerk of the Court or

via the Electronic Case Files System. Exhibit 5 to the Local Bankruptcy Rules (“Exhibit 5”)

specifies the format in which the mailing matrix must be submitted.

       6.      The Debtors have already prepared a single, consolidated list of all of the Debtors’

creditors and are prepared to make such list available in electronic form to any party in interest who

so requests and in non-electronic form at such requesting party’s sole cost and expense, in lieu of

submitting a mailing matrix in accordance with Local Bankruptcy Rule 1007-1(H)(1).

       7.      There are thousands of creditors and parties in interest in the chapter 11 cases. The

Debtors maintain lists of the names and addresses of all such entities on various computer software

programs that permit the Debtors, and/or a third-party service provider on the Debtors’ behalf, to

print mailing labels for each such entity. As described in greater detail below, contemporaneously

herewith, the Debtors’ have sought to retain Kurtzman Carson Consultants LLC as the Debtors’

notice, claims, and balloting agent in the chapter 11 cases. Because the Clerk of the Court

(the “Clerk”) will be relieved of the burden of sending notice to the Debtors’ numerous creditors and

parties in interest, the Debtors submit that the Clerk does not need the information provided in a

mailing matrix formatted in accordance with Local Bankruptcy Rule 1007-1(H)(1).

       8.      Compiling the information in the format required by Local Bankruptcy

Rule 1007-1(H)(1) and Exhibit 5 would create an unnecessary administrative burden for the Debtors’

estates. Additionally, the risk of error in transcription would be significant, particularly in light of

the large number of creditors and parties in interest.




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II.       Authority Exists to File a Single Consolidated List of the Debtors’ 30 Largest
          Unsecured Creditors.

          9.       Bankruptcy Rule 1007(d) provides that a debtor shall file “a list containing the name,

address and claim of the creditors that hold the 20 largest unsecured claims, excluding insiders . . . .”

Fed. R. Bankr. P. 1007(d). Because many creditors are shared amongst certain of the Debtors and

the Debtors operate as a single business enterprise, the Debtors request authority to file a single,

consolidated list of their 30 largest general unsecured creditors.

          10.      In addition, the exercise of compiling separate top 20 creditor lists for each individual

Debtor would consume an excessive amount of the Debtors’ scarce time and resources. Moreover,

as the Debtors will request the Office of the United States Trustee for the Eastern District of Virginia

(the “U.S. Trustee”) to appoint a single official committee of unsecured creditors, a consolidated list

of the largest creditors is a more appropriate list of the Debtors’ most significant unsecured creditors.

As such, the Debtors believe relief to file a single consolidated list of the 30 largest unsecured

creditors in the chapter 11 cases is appropriate. Similar relief has been granted in comparable

chapter 11 cases in this district and other jurisdictions. See, e.g., In re Workflow Mgmt., Inc.,

No. 10-74617 (SCS) (Bankr. E.D. Va. Oct. 8, 2010); In re Greenbrier Hotel Corp., No. 09-31703

(KRH) (Bankr. E.D. Va. Mar. 20, 2009); In re S & K Famous Brands, Inc., No. 09-30805 (KRH)

(Bankr. E.D. Va. Feb. 10, 2009); In re Canal Corp. f/k/a Chesapeake Corp., No. 08-36642 (DOT)

(Bankr. E.D. Va. Dec. 30, 2008) (DOT); In re Circuit City Stores, Inc., No. 08-35653 (KRH) (Bankr.

E.D. Va. Nov.12, 2008); In re Movie Gallery, Inc., No. 07-33849 (DOT) (Bankr. E.D. Va. Oct. 18,

2007); In re Rowe Cos., No. 06-11142 (SSM) (Bankr. E.D. Va. Sept. 20, 2006).3




3     Because of the voluminous nature of the orders cited herein, such orders are not attached to this motion. Copies of
      these orders are available upon request of the Debtors’ proposed counsel.



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                       Waiver of Memorandum of Points and Authorities

         11.    The Debtors respectfully request that the Court treat this motion as a written

memorandum of points and authorities or waive any requirement that this motion be accompanied by

a written memorandum of points and authorities as described in Local Bankruptcy Rule 9013-1(G).

                                                 Notice

         12.    The Debtors have provided notice of this motion to the following parties or, in lieu

thereof, to their counsel, if known: (a) the U.S. Trustee; (b) the entities listed on the consolidated list

of creditors holding the thirty largest unsecured claims; (c) the agent for the Debtors’ proposed

debtor-in-possession financing facility; (d) the agent for the Debtors’ prepetition first lien credit

facility; (e) the ad hoc group of first lien lenders; (f) the agent for the Debtors’ prepetition second

lien credit facility; (g) the ad hoc group of second lien lenders; (h) any party that may have a

particular interest in this motion; and (i) any party that has requested notice pursuant to Bankruptcy

Rule 2002. In light of the nature of the relief requested herein, the Debtors respectfully submit that

no further notice is necessary.

                                           No Prior Request

         13.    No prior request for the relief sought in this motion has been made to this or any other

court.

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        WHEREFORE, the Debtors respectfully request that the Court enter the Order, substantially

in the form attached hereto as Exhibit A, granting the relief requested herein and granting such other

relief as is just and proper.

 Dated: November 12, 2012
        Richmond, Virginia                        By: /s/ Dion W. Hayes
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                                                  John H. Maddock III (VSB No. 41011)
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                                                          - and -

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                                                  Proposed Attorneys for the Debtors and
                                                  Debtors in Possession




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                                  EXHIBIT A

                                 Proposed Order




                                       1
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Proposed Attorneys for the Debtors and
Debtors in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION

                                                             )
In re:                                                       )   Chapter 11
                                                             )
AMF BOWLING WORLDWIDE, INC., et al.,1                        )   Case No. 12-36495 (___)
                                                             )
                                    Debtors.                 )   (Joint Administration Requested)
                                                             )

 ORDER AUTHORIZING THE DEBTORS TO (I) PREPARE A LIST OF CREDITORS
  IN LIEU OF SUBMITTING A FORMATTED MAILING MATRIX AND (II) FILE A
CONSOLIDATED LIST OF THE DEBTORS’ 30 LARGEST UNSECURED CREDITORS

          Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) authorizing the Debtors to


1   The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number include: AMF Bowling Worldwide, Inc. (3272); 300, Inc. (3632); American Recreation Centers, Inc.
    (1151); AMF BCH LLC (9642); AMF Beverage Company of Oregon, Inc. (4960); AMF Bowling Centers Holdings
    Inc. (1697); AMF Bowling Centers, Inc. (1662); AMF Bowling Mexico Holding, Inc. (7931); AMF Holdings, Inc.
    (5037); AMF WBCH LLC (9643); AMF Worldwide Bowling Centers Holdings Inc. (1641); Boliches AMF, Inc.
    (9631); Bush River Corporation (7033); King Louie Lenexa, Inc. (0814); Kingpin Holdings, LLC (5411); and
    Kingpin Intermediate Corp. (5447). The location of the Debtors’ service address is: 7313 Bell Creek Road,
    Mechanicsville, Virginia 23111.
2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



                                                         2
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(a) prepare a list of creditors in lieu of submitting a formatted mailing matrix, and (b) file a

consolidated list of the Debtors’ 30 largest unsecured creditors; all as more fully set forth in the

Motion; and upon consideration of the First Day Declaration; and the Court having found that it has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found that

this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of

this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

the Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and the Debtors having provided appropriate

notice of the Motion and the opportunity for a hearing on the Motion under the circumstances; and

the Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before the Court (the “Hearing”); and the Court having determined that

the legal and factual bases set forth in the Motion and at the Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before the Court; and any objections to the relief

requested herein having been withdrawn or overruled on the merits; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.      The Motion is granted as set forth herein.

        2.      The Debtors are authorized to file a consolidated list of their 30 largest unsecured

creditors in the Debtors’ chapter 11 cases in lieu of each Debtor filing a list of its 20 largest

unsecured creditors.

        3.      In lieu of submitting a formatted mailing matrix, the Debtors shall make available a

single, consolidated list of all of the Debtors’ creditors in electronic form to any party who so

requests and in non-electronic form at such requesting party’s sole cost and expense.




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       4.         The Debtors, with the assistance of Kurtzman Carson Consultants LLC, the proposed

notice, claims, and balloting agent (upon the Court’s authorization), are authorized, but not directed,

to undertake all mailings directed by the Court, the U.S. Trustee, or in accordance with the

Bankruptcy Code, including the notice of commencement of the chapter 11 cases, and any other

correspondence that the Debtors may wish to send to parties in interest.

       5.         The requirement under Local Bankruptcy Rule 9013-1(G) to file a memorandum of

law in connection with the Motion is hereby waived.

       6.         Notice of the Motion as provided therein shall be deemed good and sufficient notice.

       7.         The terms and conditions of this Order shall be immediately effective and enforceable

upon its entry.

       8.         The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       9.         The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Dated:
Richmond, Virginia

                                                        UNITED STATES BANKRUPTCY JUDGE




                                                    4
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 WE ASK FOR THIS:

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 Proposed Attorneys for the Debtors and
 Debtors in Possession

                      CERTIFICATION OF ENDORSEMENT
                   UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

        Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing
 proposed order has been endorsed by or served upon all necessary parties.

                                               /s/ Dion W. Hayes
